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1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    MICHAEL PETRIK, Jr., #177913
     Assistant Federal Defender
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     Sacramento, CA 95814
4    Telephone: (916) 498-5700
5    Attorneys for Defendant
     OMAR VERA
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7
8                                       UNITED STATES DISTRICT COURT
9                                      EASTERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,                      )   Case No. 13-53 MCE
                                                    )
11                              Plaintiff,          )   STIPULATION AND ORDER TO CONTINUE
                                                    )   STATUS CONFERENCE TO DECEMBER 17,
12           v.                                     )   2015, AT 9:00 A.M.
                                                    )
13   OMAR VERA, JOSE MORALES                        )   Date: November 12, 2015
     CASTELLON, EDUARDO REYES,                      )   Time: 9:00 a.m.
14                                                  )   Judge: Honorable Morrison C. England, Jr.
                                Defendants.         )
15                                                  )
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17             The parties stipulate, through respective counsel, that the Court should continue the status
18   conference set for November 12, 2015, at 9:00 a.m., to December 17, 2015, at 9:00 a.m.
19             Defense counsel require the continuance to consult with their clients about discovery and
20   proposed plea agreements, to meet and confer, and to negotiate further with the government.
21             Counsel and the defendants agree that the Court should exclude the time from the date of
22   this order through December 17, 2015, when it computes the time within which trial must
23   commence under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7), and Local Code T4.
24   ///
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      Stipulation to Continue                           -1-                                       13-53 MCE
        Case 2:13-cr-00053-JAM Document 72 Filed 11/13/15 Page 2 of 3


1              Counsel and the defendants also agree that the ends of justice served by the Court
2    granting this continuance outweigh the best interests of the public and the defendants in a speedy
3    trial.
4    DATED: November 10, 2015                       HEATHER E. WILLIAMS
                                                    Federal Defender
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6                                                   /s/ M.Petrik__________
                                                    MICHAEL PETRIK, Jr.
7                                                   Assistant Federal Defender
                                                    Attorneys for Mr. Vera
8
9    DATED: November 10, 2015
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                                                    /s/ M.Petrik for_______
11                                                  KYLE RODGER KNAPP
                                                    Attorney for Mr. Castellon
12
13
     DATED: November 10, 2015
14
                                                    /s/ M.Petrik for_______
15                                                  RONALD JAMES PETERS
                                                    Attorney for Mr. Reyes
16
17
     DATED: November 10, 2015                       BENJAMIN B. WAGNER
18                                                  United States Attorney

19                                                  /s/ M.Petrik for_______
                                                    JASON HITT
20
                                                    Assistant U.S. Attorney
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      Stipulation to Continue                         -2-                                           13-53 MCE
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1                                                 ORDER
2              The Court, having received, read, and considered the stipulation of the parties, and good
3    cause appearing, adopts the stipulation in its entirety as its order. The Court specifically finds
4    that the failure to grant a continuance in this case would deny defense counsel reasonable time
5    necessary for effective preparation, taking into account the exercise of due diligence. The Court
6    finds that the ends of justice served by granting the continuance outweigh the best interests of the
7    public and defendants in a speedy trial.
8              The Court orders the status conference rescheduled for December 17, 2015, at 9:00 a.m.
9    The Court orders the time from the date of this order, up to and including December 17, 2015,
10   excluded from computation of time within which the trial of this case must commence under the
11   Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7), and Local Code T4.
12             IT IS SO ORDERED.
13   Dated: November 12, 2015
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      Stipulation to Continue                          -3-                                        13-53 MCE
